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                                                  May 31, 2024

        By ECF

        Hon. Marcia M. Henry
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                 Re:   United States v. Singh
                       23 Cr. 236 (FB)

        Dear Judge Henry:

               Because of a change in circumstances, I am writing to propose alternative dates for
        the change of plea proceeding for my client, Sagar Singh.

               I have conferred with the government, and all parties will be available any time on
        June 17th through June 20th, other than on the morning of June 18th. Because Mr. Singh
        will be traveling from Rhode Island, we would prefer a time in the afternoon or late
        morning, but he will arrange to appear at an earlier time on those dates if that is
        necessary.

               Accordingly, we ask that, if the Court’s schedule permits, it set the plea proceeding
        for one of the dates suggested above. Thank you for your consideration of this request.

                                                  Respectfully,

                                                  /s/
                                                  Jeremy Gutman
                                                  Attorney for Defendant
                                                  Sagar Singh
